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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 4:14-CR-3114

vs.
                                                     MEMORANDUM AND ORDER
SONIA HERNANDEZ and FREDDY
HERNANDEZ, JR.,

                     Defendants.


      This matter is before the Court on the defendants' objections (filing 74)
to the Findings, Recommendation, and Order (filing 64) of the Magistrate
Judge Cheryl R. Zwart, recommending that the defendants' motions to
suppress (filings 40 and 42) be denied.1 The Court has conducted a de novo
review of the defendants' motions to suppress, pursuant to 28 U.S.C. §
636(b)(1). The Court concurs in Magistrate Judge's factual findings, analysis,
and conclusions of law, and finds the defendants' objections to be without
merit. The Court will therefore adopt the Findings and Recommendation. The
Magistrate Judge has accurately set forth the relevant facts and law, and so
the Court writes only briefly, to address the matters raised in the defendants'
objections.
      Assuming that the traffic stop was (prior to defendants consenting to
wait for a drug dog to arrive) unreasonably prolonged, the Court finds that
Trooper Pelster had developed reasonable suspicion sufficient to justify
prolonging defendants to investigate. The Court further finds that both
defendants consented to wait for a drug dog to arrive, and that any detention
beyond that period was, in fact, consensual.
      The defendants have focused much of their briefing on Rodriguez v.
United States, 135 S. Ct. 1609 (2015), a case which was decided shortly before
the Magistrate Judge issued her Findings and Recommendation, and which
the defendants had not previously had an opportunity to brief. But Rodriguez


1 More specifically, the defendant Freddy Hernandez Jr. has filed an objection (filing 74).

The defendant Sonia Hernandez has filed a Motion for Leave to join in her co-defendant's
objections. Filing 76. Sonia Hernandez's motion for leave will be granted, in that she will be
permitted to join in her co-defendant's objections.
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does not alter the Court's conclusion. That case addressed "whether police
routinely may extend an otherwise-completed traffic stop, absent reasonable
suspicion, in order to conduct a dog sniff." Id. at 1614 (emphasis supplied). As
the Court has explained, Trooper Pelster had developed reasonable suspicion
prior to any detention becoming unreasonably prolonged, and thereafter,
defendants consented to wait for the drug dog to arrive. Accordingly, the
Court finds defendants' objections to be without merit.

      THEREFORE, IT IS ORDERED:

      1.    Defendant Sonia Hernandez's Motion for Leave to join in
            her co-defendant's objections (filing 76) is granted.

      2.    The Court adopts the Magistrate Judge's Findings and
            Recommendation (filing 64).

      3.    The defendants' objections (filing 74) are overruled.

      4.    The defendants' motions to suppress (filings 40 and 42) are
            denied.

      Dated this 20th day of July, 2015.

                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge




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